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BOI

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA
V.

NIKA NAZAROVI

a/k/a Nika Utiashvili

a/k/a Mihail Atansov

a/k/a Stefan Trifonov Zhelyazkov
MARTINS IGNATJEVS

- a/k/a Yordan Angelov Stoyanov

a/k/a Aleksander Tihomirov

a/k/a Svetlin Iliyanov Asenov
ALEKSANDRE KOBIASHVILI

a/k/a Antonios Nastas

a/k/a Ognyan Krasimirov Trifonov

DMITRIJS KUZMINOVS
a/k/a Parush Gospodinov Genchev

VALENTINS SEVECS
a/k/a Marek Jaswilko
a/k/a Rafal Szezytko

DMITRIJS SLAPINS

ARMENS VECELS

ARTIOM CAPACLI

ION CEBANU

TOMASS TRESCINKAS

RUSLANS SARAPOVS

SILVESTRS TAMENIEKS

~ ABDELHAK HAMDAOUL .

PETAR ILIEV

Criminal No. 1b ° L45

(18 USC. § 1956(h))
[UNDER SEAL]

FILED

SEP 29 2020

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INDICTMENT

The grand jury charges:

Introduction

At all times material to this Indictment: :

1. From in and around 2016, and continuing thereafter to in and aro

the Defendants, and co-conspirators known and unknown to ‘the grand jury, Vv
transnational organized crime network known as “QQAAZZ.” QQAAZZ

laundering services to significant cybercriminal organizations that stole mon

. victims in the United States and abroad.

2.

In order to launder stolen funds, 'the Defendants and their co-c«

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and maintained hundreds of bank accounts at financial institutions in numerous countries,

including Portugal, Spain, Germany, Turkey, the United Kingdom, Belgium an

QQAAZZ used the bank accounts to receive funds stolen by cybercriminals fro
respective financial institutions, including in the Western District of Pennsylv
3. After receiving the stolen funds, QQAAZZ transferred the funds

series of transactions. These transactions included traditional electronic fund.
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QQAAZZ-controlled bank accounts as well as the conversion of ‘the!

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cryptocurrency. After taking a fee of up to 40.to 50-percent, QQAAZZ retur
the stolen funds to the cybercriminals. In total, cybercriminals attempted to trans
of dollars to QQAAZZ-controlled accounts, and QQAAZZ successfully lau

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dollars stolen-from victims around the world.

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Members of the Conspiracy

4. The members of QQAAZZ were citizens of multiple countries, including Georgia,
Latvia, Romania, Bulgaria, and Belgium.

5. QQAAZZ was organized into a hierarchy with three primary levels: leaders, mid-
level managers, and money couriers, oftentimes known as “money mules” and described as such
herein.

6. The leaders of QQAAZZ directed mid-level managers, developed strategies for .
opening bank accounts around -the world, advertised “cash-out” services on cybercriminal internet

forums, and coordinated to receive stolen funds from and return laundered funds to cybercriminals.
The phrase “cash-out services” refers to the ability to withdraw funds in currency from a bank
account.

7. Mid-level managers of QQAAZZ, received direction from the organization’s
leaders, recruited money mules to open bank accounts around the world, and arranged travel for
the money mules: Sometimes mid-level members of the conspiracy also opened QQAAZZ-
controlled bank accounts. |

8. Money mules at times used aliases and false identification documents, and at other
times used their true identities, to register shell companies! and open personal and corporate bank
accounts controlled by QQAAZZ at international financial institutions. The primary purpose of
the accounts was to receive and launder stolen funds. The money mules were complicit in the

scheme, meaning that they were aware of the illegal source of victim funds.

 

1 As used herein, a “shell company” is a corporate entity formed under the laws of a jurisdiction
outside of the United States for the purpose of opening bank accounts. A shell company does not
have an actual business function outside of being the named owner of these bank accounts.

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The Defendants

9. | NIKA NAZAROVI, formerly Nika Utiashvili, a/k/a Mihail Atanasov, a/k/a Stefan —
Trifonov Zhelyazkov, was a citizen of Georgia. NAZAROVI was a member of the conspiracy who |
managed co-conspirators in the opening of QQAAZZ-controlled bank accounts, NAZAROVI used
the alias Stefan Trifonov Zhelyazkov to register a shell company in Spain and open a QQAAZZ-
controlled bank account, which was the intended recipient of funds attempted to be stolen from
two United States victims.

10. MARTIN s IGNATIJEVS, a/k/a Yodan Angelov Stoyanov, a/k/a Aleksander
Tihomirov Yanev, a/k/a Svetlin Iliyanov Asenov, was a citizen of Latvia, and he resided in the
United Kingdom. IGNATJEVS was a member of the conspiracy who managed co-conspirators in
the opening of QQAAZZ-controlled bank accounts. —

11. ALEKSANDRE KOBIASHVILL, a/k/a Antonios Nastas, a/k/a Ognyan Krasimirov |
Trifonov, was a citizen of Georgia. KOBIASHVILI used the aliases Antonios Nastas and Ognyan
Krasimirov Trifonov to register a shell company and open QQAAZZ-controlled bank accounts in
Portugal. One of the QQAAZZ-controlled bank accounts opened by KOBIASHVILI was the
intended recipient of funds attempted to be stolen from a United States victim. |

12, DMITRIJS KUZMINOVS a/k/a Parush Gospodinov Genchev was a citizen of
Latvia. KUZMINOVS registered shell companies and opened QOAAZZ-controlled bank accounts
in Portugal and Germany. One of the accounts opened in Portugal was the recipient of funds stolen
from a United States victim.

13. VALENTINS SEVECS, a/k/a Marek Jaswilko, a/k/a Rafal Szczytko, was a citizen
of Latvia. SEVECS used the alias Marek Jaswilko to register a shell company in Portugal and open

at least 16 QQAAZZ-controlled bank accounts in that company’s name. Two of these corporate

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bank accounts were the intended recipients of funds attempted to be stolen from three United States
victims.

14. | DMITRIJS SLAPINS was a citizen of Latvia. SLAPINS’s identification was used
to register shell companies and QQAAZZ-controlled bank accounts in the United Kingdom and
Germany. SLAPINS also opened a personal bank account in Germany that was the intended
recipient of funds attempted to be stolen from a United States victim.

15. ARMENS VECELS was a citizen of Latvia. VECELS registered a shell company
in Portugal and opened QQAAZZ-controlled bank accounts in Portugal, Spain, and the United
Kingdom. The accounts VECELS opened in Portugal were the intended recipient accounts for
funds attempted to be stolen from five United States victims.

16. ARTIOM CAPACLI was a citizen of Bulgaria. CAPACLI opened a QQAAZZ-
controlled bank account in Spain, which received funds stolen from a United States victim.

17. ION CEBANU was a citizen of Romania. CEBANU opened a QQAAZZ-
controlled bank account in Spain, which received funds stolen from a United States victim.

18. TOMASS TRESCINKAS was a citizen of Latvia. TRESCINKAS opened a
QQAAZZ-controlled bank account in Spain, which received funds stolen from a United States
victim.

19. RUSLANS SARAPOVS was a citizen of Latvia. SARAPOVS opened a OQAAZZ-
controlled bank account in Spain, which received funds stolen from a United States victim.

20. SILVESTRS TAMENIEKS was a citizen of Latvia. TAMENIEKS opened a
QQAAZZ-controlled bank account in Spain, which received funds stolen from a United States

victim.
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21. ABDELHAK HAMDAOUI was a citizen of Belgium. HAMDAOUI opened
QQAAZZ- -controlled bank accounts in Belgium and Germany. One of the aceounts opened by

HAMDAOUI received funds stolen from a United States victim. | | i

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22. PETAR ILIEV was a citizen of Bulgaria, ILIEV opened a QGAALE- controlled

bank account in Portugal which was the intended recipient of funds attempted to be stolen from a

United States victim.
Co- _Conspirators Charged
in Related Indictment at Criminal No. 19-3042

23.  Aleksejs Trofimovics, a/k/a Aleksejs Trofimovich, a/k/a Alexey Trofimovich, alk/a

Aleko Stoyanov Angelov, was a citizen of Latvia, Trofimovics registered shell companies and
: I 4
opened QQAAZZ-controlled bank accounts in, Portugal that were the recipients, and intended

, |
recipients, of funds stolen and attempted to be stolen from United States victims.

24.  Ruslans Nikitenko, alk/A Krzysztof Wojciech Lewko, a/k/a )Milen Nikolchey
Nikolov, a/k/a Rafal Zimnoch, a/k/a Emil Raykov Yordanov, was from Latvia. Nikitenko was a
member of the conspiracy who managed co-conspirators in the opening of QQAAZZ-controlled

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bank accounts. Nikitenko used the aliases Krzysztof Wojciech Lewko, Milen Nikolchev Nikolov,

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Rafal Zimnoch, and Emil Raykov Yordanov ‘to register shell companies and open QQAAZZ-

controlled bank accounts in Portugal, including accounts that were the recipients, and intended
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recipients, of funds stolen and attempted to be stolen from United States victims.
25.  Arturs Zaharevics, a/k/a Piotr Ginell a/k/a Arkadiusz Szuberski, a/k/a Pawel

Tomasz Blitek, a/k/a Marcin Ostapowicz, was 4a citizen of Latvia, and at ‘times he resided in the

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2 On September 25, 2019, a federal grand jury in the Western District of Pennsylvania returned a
one-count indictment at Criminal No. 19-304 charging QQAAZZ members Aleksejs Trofimovics,
Ruslans Nikitenko, Arturs Zaharevics, Deniss Ruseckis, and Deinis Gorenko with conspiracy to
commit money laundering, in violation of Title 18, United States Code, Section 1956(h), for their
involvement in the same conspiratorial conduct charged herein.

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United Kingdom. Zaharevics was a member of the conspiracy who recruited and managed co-
conspirators in the opening of QQAAZZ-controlled bank accounts. Zaharevies used the aliases
Piotr Ginelli and Arkadiusz Szuberski to register shell companies and open QQAAZZ-controlled
bank accounts in Portugal.

26. Deniss Ruseckis, a/k/a Denis Rusetsky, a/k/a Sevdelin Sevdalinov Atanasov, was a
citizen of Latvia. Ruseckis registered shell companies and opened QQAAZZ-controlled bank
accounts in Portugal that were the recipients, and intended recipients, of funds stolen and attempted
to be stolen from United States victims. |

27. Deinis Gorenko was a citizen of Latvia. Gorenko opened QOAAZZ-controlled
bank accounts in Portugal that were the recipients of funds stolen from United States victims.

The Victims

28. QQAAZZ laundered money stolen from victims in the United States and other
countries, including the United Kingdom, Switzerland, and Italy. Victims included both businesses
and individuals. Some of the victims in the United States held bank accounts at financial
institutions headquartered in the Western District of Pennsylvania.

29. Bank 1 wasa financial institution headquartered in Pittsburgh, Pennsylvania, in-the
Western District of Pennsylvania. Bank 1 was insured by the Federal Deposit Insurance
Corporation or chartered by the United States.

30. Bank 2 was a financial institution headquartered in Pittsburgh, Pennsylvania, in the -
Western District of Pennsylvania. Bank 2 was insured by the Federal Deposit Insurance
Corporation or chartered by the United States. |

31. Examples of identified victims living or conducting business within the United ~
States included:

a. a technology company in Windsor, Connecticut;

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b. an Orthodox Jewish Synagogue in Brooklyn, New York;
C. a medical device manufacturer in York, Pennsylvania;
d. an individual in Montclair, New Jersey;
e. an architecture firm in Miami, Florida; .
f. an individual in Acworth, Georgia;
g. an automotive parts manufacturer in Livonia, Michigan;
h. a homebuilder in Skokie, Illinois;
1. an individual in Carrollton, Texas; and,
j. an individual in Villa Park, California.
32. In total, dozens of United States victims have been identified. However, because

QQAAZZ served numerous cybercriminal organizations, the total number of victims whose funds
were stolen, or attempted to be stolen, through unauthorized electronic funds transfers is unknown.

COUNT ONE
Conspiracy to Commit Money Laundering
(18 U.S.C. § 1956(h))

The grand jury charges:

33. The allegations contained in Paragraphs 1 through 32 of this Indictment are
repeated, re-alleged, and incorporated by reference as if fully set forth herein.

34. From in and around 2016, and continuing thereafter to in and around October 2019,
in the Western District of Pennsylvania and elsewhere, the Defendants did knowingly and
intentionally conspire and agree with each other and other persons known and unknown to the
grand jury, to commit money laundering in violation of Title 18, United States Code, Section 1956,
that is:

a. to knowingly conduct and attempt to conduct financial transactions
affecting interstate and foreign commerce, involving the proceeds of
specified unlawful activity, namely, computer fraud, in violation of Title
18, United States Code, Section 1030, wire fraud, in violation of Title 18,
United States Code, Section 1343, and bank fraud, in violation of Title 18,

United States Code, Section 1344, knowing that the. transactions were
designed, in whole and in part, to conceal and disguise the nature, location,

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source, ownership and control of the proceeds of said specified unlawful
activity, and that while conducting and attempting to conduct such financial
transactions knowing that the property involved in the financial transactions
represented the proceeds of some form of unlawful activity, in violation of
Title 18, United States Code, Section 1956(a)(1)(B)(); and

b. _— to knowingly transport, transmit, transfer, and attempt to transport, transmit,
and transfer monetary instruments and funds from a placé in the United
States to and through a place outside the United States, knowing that the
monetary instruments and funds involved in the transportation,
transmission, and transfer represent the proceeds of some form of unlawful
activity, and knowing that such transportation, transmission, and transfer
was designed, in whole and in part, to conceal and ‘disguise the nature,
location, source, ownership and control of the proceeds of specified
unlawful activity, namely, computer fraud, in violation of Title 18, United
States Code, Section 1030, wire fraud, in violatiori of Title 18, United States
Code, Section 1343, and bank fraud, in violation of Title 18, United States
Code, Section 1344, in violation of Title 18, United States Code, Section
1956(a)(2)(B)i)..

Manner and Means of the Conspiracy

35. During all times relevant to the Indictment, the manner and means used to
accomplish the conspiracy included the following:

Overview of the Conspiracy

36. QQAAZZ members at times used aliases and false identification documents, and at
other times used their true identities, to register shell companies and open personal and corporate:
bank accounts controlled by QQAAZZ at foreign financial institutions.

37. The primary purpose of the bank accounts was to receive money stolen by
cybercriminals from unwitting victims in the United States and abroad.

38. Inorder to attract business from cybercriminals, QQAAZZ members advertised the
group’s services on exclusive, underground cybercriminal online forums.

39, QQAAZZ members communicated with their criminal clients on these forums and

over Jabber, a secure online instant message software.
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40. QQAAZZ provided cybercriminals with account information for specific bank
accounts controlled by QQAAZZ, which were designated to receive funds stolen by the
cybercriminals.

41. After receiving account information from QQAAZZ, cybercriminals would attempt
to initiate an electronic funds transfer from the victim’s bank accounts to the recipient account
provided by QQAAZZ.

42. If the electronic funds transfer was successful, QQAAZZ “cashed-out” (that is, —
withdrew) the funds and transferred the funds either to a different QQAAZZ-controlled bank
account or to “tumbling” services where the funds were converted to cryptocurrency through a |
series of transactions designed to obfuscate the original source of the funds.

43. QQAAZZ returned a portion of the laundered funds to the cybercriminals and kept
a portion for the group as a fee, which was typically between 40 to 50 percent of the total amount
of the stolen funds.

Aliases and Fraudulent Identification Documents

44. In furtherance of the conspiracy, QQAAZZ members created and used alias names
and fraudulent identification documents. Some QQAAZZ members used multiple fraudulent |
identification documents with different aliases.

45. The fraudulent identification documents included country identification cards and
passports. These fraudulent identification documents were used to register shell companies and
open bank accounts at foreign financial institutions. The defendants arranged for funds stolen from
fraud victims to be deposited into these foreign financial institution accounts. |

46. For example, VALENTINS SEVECS, a citizen of Latvia, used fraudulent Polish

identification cards in the names Marek Jaswilko and Rafal Sezyztko as shown in EXHIBIT A.

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47. NIKA NAZAROVI, formerly Nika Utiashvili, a citizen of Georgia, used a
fraudulent Bulgarian passport in the name of Stefan Trifonov Zhelyazkov as shown in EXHIBIT
B.

48. The table below summarizes some of the aliases and fraudulent identification

documents used by QQAAZZ members:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

DEFENDANT ALIASES FRAUDULENT
oo, IDENTIFICATION
DOCUMENTS
ALEKSANDRE Antonios Nastas Greek Passport’
KOBIASHVILI Ognyan Krasimirov Trifonov Bulgarian Identity Card
DMITRUS . _—
KUZMINOVS Parush Gospodinov Genchev Bulgarian Fassport
Mihail Atansov Bulgarian Identity Card
NIKA NAZAROVI Stefan Trifonov Zhelyazkov Bulgarian Passport
Milen Nikolchev Nikolov Bulgarian Passport &
Ruslans Nikitenko Krzysztof Wojciech Lewko Polish Identification
Rafal Zimnoch Cards
Deniss Ruseckis Sevdelin Sevdalinov Atanasov Bulgarian Passport
VALENTINS Marek Jaswilko Polish Identification
SEVECS Rafal Szczytko Cards
Aleksejs Bulgarian Identification
Trofimovics Aleko Stoyanov Angelov Card
Piotr Ginelli
' . Arkadiusz Szuberski Polish Identification
s Zaharevies Pawel Tomasz Blitek Cards |
Marcin Ostapowicz |

 

Beneficiary Accounts

 

49. In furtherance of the conspiracy, QQAAZZ members used aliases and true
identities to register shell companies and to open QQAAZZ-controlled bank accounts at financial
institutions in numerous countries, including in Portugal, Spain, Germany, Turkey, the United

Kingdom, Belgium and the Netherlands.

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50. The shell companies used to open the corporate bank accounts conducted no known
legitimate business activity.

51. QQAAZZ members reserved and purchased travel arrangements for other members
to travel to the many countries in which QQAAZZ members opened and maintained bank
accounts.

52. For example, a QQAAZZ member arranged a flight from London, United Kingdom
to Lisbon, Portugal for DMITRIJS KUZMINOVS on December 6, 2018.

53. In total, QQAAZZ members opened hundreds of personal bank accounts and
corporate bank accounts at numerous financial institutions for the purpose of using the accounts
to receive stolen funds from victims. |

54. QQAAZZ used corporate bank accounts to receive larger amounts of stolen funds

without raising the suspicion of bank officials.

55. QQAAZZ used personal accounts in order to more easily convert stolen funds into
cryptocurrency.
56. The following table identifies Defendants and charged conspirators who registered

shell companies and opened corporate bank accounts in the names of those shell companies in

furtherance of the conspiracy:

 

 

 

 

 

 

DEFENDANT | NAME USEDTO | SHELL COMPANY COUNTRY | ACCOUNTS
OPEN ACCOUNT i OPENED
Deinis Gorenko | Deinis Gorenko Unipessoal LDA Portugal 6
ALEKSANDRE Antonios Nastas Gnipessoal LDA Portugal 10
KOBIASHVILI epyan Krasimiroy Ropustroots Unipessoal Po rtugal 4
RU MINOVS Dmitrijs Kuzminvos Unipesseal ID A Portugal 10
Ae ROVI Thelyazkow Stefilaz S.L. Spain | 1

 

 

 

 

 

 

 

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DEFENDANT

SHELL COMPANY

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

NAME USED TO COUNTRY | ACCOUNTS

OPEN ACCOUNT OPENED

Rrzysztot Wojciech pempevulte Unipessoal Portugal | 11
ronan aN Pa [Port |
Nistenko | Rafal Zimnoch | Gorse STD | Portugal 9

Gra Rapkoy | Erulovksy ors’ Tegal [7

Seviiclin Sevdalinoy Atunasov Unipessoal Portugal Unknown
Deniss Ruseckis LDA

Deniss Ruseckis Unipeweal oe A Portugal 13
CEOS INS Marek Jaswilko Uinipessoal LD A Portugal 17
DMITRUS Dmitrijs Slapins Slapincraft Ltd. enh Unknown
SLAPINS Dmitrijs Slapins Movers GmbH . Germany Unknown
TRESCANISKIS Tomass Trescinskis TonqoteSLa Spain Unknown

: ;

Trofimovis Unipessoal LDA Portugal 13
Aleksejs Angelor Cnipeasal LDA Portugal 5
Trofimovies eels Atrofi Desi gn Ltd. Kineton Unknown

Trofimovies [Eth | Kingdom — | Uaknown
OSCELS | Armen Vecels puuadless Unipessoal Po rtugall 7
wore (Pisin [CE Ca [Pol | 10
Zaharevics Arkadiusz Szuberski UUnipossoal ID A Portugal 7

 

 

 

 

 

 

 

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57.

Receipt of Stolen Funds

In furtherance of the conspiracy, QQAAZZ used the foreign bank accounts as the

beneficiary account intended to receive unauthorized electronic transfer of funds that had been

stolen, or attempted to be stolen, by cybercriminals.

58.

The table below illustrates a sample of the hundreds of attempted and successful

unauthorized electronic transfers to QQAAZZ-controlled bank accounts of funds stolen and

attempted to be stolen from United States victims:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

DATE VICTIM AMOUNT BENEFICIARY BANK DEFENDANT
. ACCOUNT
Medical Device Yaromu Gida Ltd.
47/16 Manufacturer* $176,500 Acct: x5197 (Turkey) Unknown
Technology Stefilaz S.L. NIKA .
10/7/16 | Company $198,435 | a cot: x2172 (Spain) NAZAROVI
Dmitrijs Slapins | DMITRIJS
11/22/16 | PK & SK $47,432 | oct: x7345 (Germany) SLAPINS
Aktrofi Services LDA Aleksejs
9/2017 | JK $84,900 Acct: x4628 (Portugal) Trofimovics
Residential Sauvage Real LDA VALENTINS
LVSNN7 Homebuilder $98,700 Acct: x6079 (Portugal) SEVECS
. . Selbevulte LDA Ruslans
11/29/17 | Architectural Firm | $121,360 Acct: x3596 (Portugal) Nikitenko
Flamingcloud LDA . .
3/8/18 LC $29,500 Acct: x3197 (Portugal) Deniss Ruseckis
Sauvage Real LDA VALENTINS
S218 | RV $150,000 | acct: x6079 (Portugal) SEVECS
Landscaping og
3/21/18 | Equipment $300,000 _ | Secule Grandioso Unknown
Acct: x3004 (Portugal)
Manufacturer
Electrical Services | Cardinal Gradual LDA Arturs
4/10/18 Contractor $59,426 Acct: x3078 (Portugal) Zaharevics
Automotive
Selbevulte LDA Ruslans
8/30/18 | Components ; $99,693 Acct: x0175.(Portugal) Nikitenko
Manufacturer*

 

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DATE VICTIM AMOUNT BENEFICIARY BANK || DEFENDANT
ACCOUNT :
Automotive
_ | Sauvage Real LDA VALENTINS
8/30/18 | Components $498,536 Acct: x0006 (Portugal) SEVECS
Manufacturer*
Automotive Parts Deinis Gorenko .
11/14/18 Manufacturer $112,921 Acct: x9194 (Portugal) | Deinis Gorenko
Freight Forwarding Pixelcategory LDA DMITRIJS
12/618 | Company $99,528 | a cot: x0725 (Portugal) KUZMINOVS
. . Build4Less LDA | ARMENS
12/12/18 | Charity Services $299,000 Acct: x0103 (Portugal) ! VECELS
. . Build4Less LDA ARMENS
12/12/18 | Charity Services $150,327 Acct: x0103 (Portugal) VECELS
Automobile Parts Petar Valentinov Iliev |
12/12/18 Supplier $ 149.6 10 Acct: x2194 (Portugal) : PETAR ILIEV
Equipment | Nastas Construction ALEKSANDRE
12N2/18 | Company $266,960 | a cot: x0126 (Portugal) » KOBIASHVILI
Baked Goods Artiom Capacli | ARTIOM
1/22/19 | \fanufacturer $49,188 | a cot: x7136-(Spain) | | CAPACLI
1/22/19 Baked Goods $293,831 Tungpotte veavey TRESCINSKIS
Acct: x9440 (Spain)
|
Baked Goods Ion Cebanu
W/22/19 Manufacturer $49,182 Acct: x5434 (Spain) | ION CEBANU
Farming &
. Ruslans Sarapovs RUSLANS
2/7/19 | Agricultural $78,123 Acct: x0217 (Spain) SARAPOVS
Retailer
Farming & . . |
. Silvestrs Tamenieks SILVESTRS
2/1/19 | Agricultural $73,441 | A cot: x9561 (Spain) "| TAMENIEKS
Retailer :
Freight and .
- . Abdelhak Hamdaoui ABDELHAK
3/27/19 powistcs Service / $28,263 | a cot: 4350 (Belgium) HAMDAOUI

 

 

* Indicates victim bank headquartered in the Western District of Pennsylvania

59,

In total, QQAAZZ-controlled bank accounts received tens of millions of dollars

stolen from victims worldwide, while millions more dollars were attempted to be transferred to

those accounts but were stopped before the transactions were completed.

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Cybercriminal Forum Advertisements

60. In furtherance of the conspiracy, QQAAZZ advertised cash-out and money
laundering services on exclusive, underground, Russian-speaking, online cybercriminal forums. |

61. These forums provided virtual meeting places where vetted cybercriminals sought
and offered specialized technical skills, services, or products needed to engage in a variety of
cybercriminal activities.

62. One specialized service critical to the cybercriminal underground was the cash-out
and money laundering service provided by criminal groups including QQAAZZ.

63.  Inorder to facilitate the sale and receipt of services, the underground forums rented
advertisement space to individuals or groups wanting to draw attention to their particular service.
These advertisements could cost as much as $10,000 per year.

64. QQAAZZ advertised its cash-out and money laundering services on the
underground forums. For example, QQAAZZ advertised on one such forum that it provided “a
global, complicit bank drops service,” indicating the availability of bank accounts in numerous
countries throughout the world with “drops” (i.e., money mules) who were complicit in, and
knowledgeable of, the criminal scheme.

65. Through these underground forums, QQAAZZ developed numerous cybercriminal |
clients. Among QQAAZZ’s cybercriminal clientele were several nefarious malware organizations,

including GozNym, Dridex, and Trickbot.

Jabber Communications with Cybercriminal Clientele

66. In furtherance of the conspiracy, QQAAZZ communicated, usually in Russian,

with its cybercriminal clients using Jabber, a secure online instant message software.

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67. QQAAZZ members used several online monikers, including “qqaazz,”
“slobalqqaazz,” “markdevido,” “tichtich,” “donaldtrump55,” “manuel,” “erakadil,” “kalilinux,”
“ritchie,” “totala,” and “totala22.” These online monikers were often used by multiple members of
QQAAZZ at different times.

68. QQAAZZ used these online monikers to pass account information of QQAAZZ-
controlled accounts to the cybercriminal clients.

69. For example, on February 18, 2016, QQAAZZ used the moniker “richrich” to pass
account information to a member of GozNym Malware Crime Group. During the chats, “richrich”
stated that he was the “drop handler” for the United Kingdom and Europe and that he had access

| to corporate and personal bank accounts. The GozNym member requested “drop” accounts, and
“richrich” provided the GozNym member with corporate bank accounts in the name “Yaromu
Gida” at a bank in Turkey. As referenced in the table in Paragraph 58, on April 7, 2016; Yaromu
Gida Acct. x5197 received $176,500 in funds stolen from a medical device manufacturer utilizing
a bank headquartered in the Western District of Pennsylvania.

70. As another example, on November 21, 2017, QQAAZZ used the online moniker
“donaldtrump55” to pass account information to a known cybercriminal client. During the chats,
the cybercriminal client asked for a “drop” in Portugal. “donaldtrump55” provided details for
Selbevulte LDA, Account x3596, opened in Portugal by Ruslans Nikitenko using a fraudulent
Polish identification card with the alias Krzysztof Wojciech Lewko. As referenced in the table in
Paragraph 58, on November 29, 2017, Selbevulte LDA Acct. 3596 was the intended recipient of a
$121,360 transfer from a United States victim.

Cash-Out and Laundering Services

71. In furtherance of the conspiracy, QQAAZZ members would transfer funds received

from cybercriminals to other QQAAZZ-controlled bank accounts or to “tumbling” services where
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the funds were converted to cryptocurrency through a series of transactions designed to obfuscate
the original source of the funds. .

72. QQAAZZ used personal bank accounts opened by money mules to receive funds
transferred from original accounts in order to more easily convert the funds into cryptocurrency.

Return of Laundered Funds

73. In furtherance of the conspiracy, QQAAZZ charged around 40- to 50-percent of the
stolen funds it received as a fee for laundering the money. /

74. For example, as part of the Jabber chats between QQAAZZ using the online
moniker “richrich” and the member of GozNym described in Paragraph 69 above, “richrich” stated
that he would take “55%” of the stolen funds.

75. As a result of the significant amount of stolen funds received into QQAAZZ-
controlled accounts, QQAAZZ made millions of dollars providing its cash-out services to

cybercriminals.

All in violation of Title 18, United States Code, Section 1956(h).

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Forfeiture Allegations

1. The allegations within this Indictment are re-alleged and by this reference fully
incorporated herein for the purpose of alleging criminal forfeiture to the United States of America
of certain property in which the Defendants have an interest.

2. As a result of committing the money laundering offense alleged in Count One of
this Indictment, the Defendants shall forfeit to the United States, pursuant to Title 18, United States
Code, Section 982(a)(1), any property, real or personal, involved in the offense, or any property
traceable to such property.

Money Judgment

3. The United States will seek a forfeiture money judgment for a sum of money equal

to the value of any property, real or personal; involved in this offense, and any property traceable

to such property.

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Substitute Assets
4. If any of the above-described forfeitable property, as a result of any act or omission
of the defendants:
a cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third person;
c. has been placed beyond the jurisdiction of the Court;
d. has been substantially diminished in value; or
e. has been commingled with other property which cannot be subdivided

without difficulty;
it is the intent of the United States, pursuant to Title 18, United States Code, Section 982(b), to

seek forfeiture of any other property of the defendants up to the value of the above-described

forfeitable property.

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All pursuant to Title 18, United States Code, Section 982(a)(1).

A True Bill, _

   

SCOTT W.BRADY VJ
United States Attorney
PA ID No. 88352

Deborah. Conner
DEBORAH CONNOR
Chief, Money Laundering and
Asset Recovery Section
Criminal Division

 

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- Exhibit A — Fraudulent Polish Identification Cards Used-By VALENTINS SEVECS

 

 

 

 

 

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Exhibit B- - Fraudulent Bulearian Passport Used By NIKA NAZAROVI
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